                       IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MISSOURI
                                ST. JOSEPH DIVISION



RightCHOICE Managed Care, Inc., et al.,

               Plaintiffs,                                 Civil Action No.
                                                        5:18-CV-06037-DGK
v.

Hospital Partners, Inc.; Hospital Laboratory
Partners, LLC; Empower H.I.S. LLC; LifeBrite
Laboratories, LLC; RAJ Enterprises of Central
Florida, LLC d/b/a Pinnacle Laboratory Services;
LabMed Services, LLC; SeroDynamics, LLC;
Lucenta Labs, LLC; David Byrns; Jorge Perez;
Christian Fletcher; James F. Porter, Jr.; Beau Gertz;
and Mark Blake.

               Defendants.




           PLAINTIFFS’ BRIEF REGARDING DISCOVERY DISPUTES
                    WITH THE CADIRA DEFENDANTS




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       The Cadira Defendants—Beau Gertz (“Gertz”); Mark Blake (“Blake”); LabMed

Services, LLC (“LabMed”); and SeroDynamics, LLC (“SeroDynamics”)—have unreasonably

limited the scope of discovery, failed to produce documents requested months ago, and

obstructed depositions. Fact discovery is scheduled to close in little more than six weeks,

Plaintiffs’ efforts to find reasonable compromise with the Cadira Defendants have failed, and

Plaintiffs have been forced to take key depositions—including those of Gertz and Blake—

without relevant emails, relevant text messages, relevant financial information, and even the

Cadira Defendants’ records of which tests were ordered and performed by their laboratories. The

Cadira Defendants’ counsel has also repeatedly disrupted depositions (including unilaterally

terminating Gertz’s deposition before Plaintiffs’ time had elapsed). Plaintiffs respectfully request

that the Court order the Cadira Defendants to produce the relevant documents sought by

Plaintiffs and order that their counsel cease their deposition misconduct.

    BACKGROUND AND EFFORTS TO COMPLY WITH LOCAL RULE 37.1
       Plaintiffs have alleged that the Cadira Defendants played an integral role in the pass-

through-billing scheme at Putnam County Memorial Hospital (“Putnam”). (Dkt. 57 ¶¶ 150-58.)

LabMed contracted with marketing personnel who interfaced with providers and encouraged

them to order tests from SeroDynamics. (Id. ¶ 234(f).) When providers ordered the tests from

SeroDynamics, SeroDynamics performed the tests at its laboratory in Colorado. (Id. ¶ 234(g).)

The Cadira Defendants transmitted information about the tests to Defendant Empower H.I.S.,

LLC (“Empower”) in Florida. (Id. ¶¶ 128, 234(c).) Empower billed the claims to Plaintiffs and

misrepresented that they had been performed by Putnam in Missouri, to take advantage of the

higher reimbursement that Putnam was contracted to receive from Plaintiffs for services it

provided to its inpatients and outpatients. (Id.; id. ¶¶ 155(d).) In fact, Putnam did not have the

machinery to perform the vast majority of the tests performed by SeroDynamics. (Id. ¶¶ 194-95.)


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The patients whose tests were billed to Plaintiffs through Putnam also had no affiliation with

Putnam (i.e., they were neither inpatients nor outpatients of the hospital). (Id. ¶ 3.) Gertz and

Blake—an attorney admitted to practice in Florida and Texas—oversaw and managed the

arrangement for the Cadira Defendants. (Id. ¶¶ 234(f)-(g), (m)-(n).) As a result, LabMed

received more than $20 million and SeroDynamics received more than $6 million, through which

Gertz and Blake were paid (although they have refused to identify how much they, individually,

received). (Id. ¶¶ 234(f)-(g).)

        On October 8, 2018, Plaintiffs served their first set of requests for production (“RFP”) on

the Cadira Defendants. (Moore Decl. Exs. 1-4. 1) The Cadira Defendants served responses and

objections on November 7, 2018. (Exs. 5-8.) They began producing documents on a rolling basis

on February 4, 2019, after Plaintiffs sent a deficiency letter on January 31, 2019. (Ex. 9.)

        Over the past six months, counsel for Plaintiffs and the Cadira Defendants have had

repeated correspondence and telephone calls, including a final meet-and-confer call on May 29,

2019, at which point counsel for the Parties agreed that the issues addressed herein were unlikely

to be resolved without the Court’s involvement. (Moore Decl. ¶ 13.)

                                  THE DISCOVERY DISPUTES
I.     The Cadira Defendants’ refusal to consider additional, reasonable search terms.

        Without consulting Plaintiffs, the Cadira Defendants applied eight search terms to their

custodians’ email accounts, reviewed the resulting documents, and produced some subset. 2 The


1
  All later citations to exhibits refer to those exhibits accompanying the Declaration of Nathaniel
J. Moore in Support of Plaintiffs’ Brief Regarding Discovery Disputes with Cadira Defendants,
filed concurrently herewith.
2
 The search terms purportedly used by the Cadira Defendants were: (1) Putnam OR PCMH; (2)
Jorge OR Perez; (3) “Hospital Partners”; (4) “Hospital Lab Partners”; (5) Empower; (6)
RightCHOICE; (7) BCBS or “Blue Cross”; and (8) Missouri AND Audit.



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search terms used by the Cadira Defendants are so narrow that there is no doubt that they have

missed large categories of relevant documents (e.g., communications between the Cadira

Defendants and the marketers and body brokers they used to generate test orders from

SeroDynamics, which would not have referenced Putnam because Putnam was not performing

the tests). When informed of the search terms used, Plaintiffs requested that the Cadira

Defendants apply a list of additional search terms, but the Cadira Defendants refused. Plaintiffs

then revised their list of additional search terms to include only 17 terms. 3 (Ex. 13 at 3.) Seven of

the search terms proposed by Plaintiffs are names of defendants in this case (or their aliases).

Another four of Plaintiffs’ proposed search terms are the names of marketers who caused large

volumes of the tests at issue to be ordered from SeroDynamics. The other search terms are

similarly relevant (e.g., the Cadira Defendants billed their claims through Campbellton-

Graceville Hospital (“CGH”) before Putnam, but when CGH cut off their access, the Cadira

Defendants re-routed some tests intended for CGH to be billed through Putnam). The Cadira

Defendants have repeatedly refused to apply any of Plaintiffs’ 17 proposed search terms. (See id.

1-2.) Their counsel stated that Plaintiffs’ proposed search terms would hit on approximately

30,000 documents, but when Plaintiffs’ counsel attempted to work with the Cadira Defendants to

address any potential problematic terms by, for example, considering a hit report, the Cadira

Defendants’ counsel refused. (See Ex. 17 at 1-2.)

       The search terms proposed by Plaintiffs are proportional and appropriate here considering

that more than $70 million is in controversy. Cf. Fed. R. Civ. P. 26(b)(1); see also Fenerjian v.


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  The additional search terms requested by Plaintiffs were: (1) Byrns; (2) Porter; (3) “RAJ
Enterprises”; (4) Pinnacle; (5) “Lab Initiatives”; (6) BLB; (7) MP3 Labs; (8) Claypoole;
(9) “Campbellton-Graceville” OR Campbellton OR CGH; (10) Mark /1 Thomas; (11) Anthony
/1 Thomas; (12) Ivey; (13) SWL OR Southwest; (14) LifeBrite; (15) Christian OR Fletcher; (16)
MedX; and (17) Lander.



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Nong Shim Co., No. 13-cv-04115-WHO (DMR), 2016 U.S. Dist. LEXIS 33419, at *22-23 (N.D.

Cal. Mar. 15, 2016) (compelling responding parties to run additional search terms when doing so

required “a simple search” and would not cause undue burden). Moreover, it is inexcusable for

the Cadira Defendants to refuse to engage in any good-faith discussion of additional reasonable

terms (e.g., the names of their co-defendants and marketers). The Cadira Defendants have

refused to offer an alternative approach or evidence of any undue burden that they would suffer

by applying Plaintiffs’ proposed search terms. Plaintiffs therefore request that the Court order the

Cadira Defendants to apply the search terms identified in footnote 3, and produce all responsive,

non-privileged documents within 14 days.

II.    The Cadira Defendants’ refusal or failure to produce categories of relevant
       documents.

       A.      Financial records

       This Court has—on three occasions—recognized that financial discovery is necessary

and appropriate in this case in light of Plaintiffs’ claims for equitable relief under ERISA

§ 502(a)(3). (Dkt. 165 at 10; Dkt. 171 at 9; Dkt. 208 at 2-3.) Plaintiffs have requested financial

information—including bank statements, wire transfer detail, and canceled checks—from the

accounts into which SeroDynamics and LabMed received millions from Putnam, as well as from

the accounts of Gertz, Blake, and the intermediary entities they use to hold their ownership

interests in LabMed and SeroDynamics. Plaintiffs have even directed the Cadira Defendants to

the Court’s past Orders on this very topic. But the Cadira Defendants refuse to produce the

financial information and—as set forth in more detail below—their counsel have directed Gertz

and Blake not to answer questions at their depositions about which financial institutions they use,

preventing the Plaintiffs from obtaining the information they need through third-party discovery.

(See, e.g., Ex. 13 at 2.) The Cadira Defendants’ response to date has been that the Court’s past



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Orders either do not address this issue or do not apply equally to the Cadira Defendants. Neither

has a basis in fact or in law, and Plaintiffs respectfully request that the Court order the Cadira

Defendants to produce all documents necessary to perform the tracing analysis—including but

not limited to statements, wire transfer detail, and canceled checks for their accounts and the

accounts of any intermediary entities from June 2016 to the present—within 10 days.

       B.      Text messages that the Cadira Defendants admit relate to Putnam

       While text messages are not relevant in many cases, Gertz admitted at his deposition that

he texted about Putnam with Blake and other employees of the Cadira Defendants (e.g., Cadira’s

Vice President of Sales). (Ex. 14 at 1.) Because of this testimony, counsel for the Cadira

Defendants committed to looking into what relevant text messages Gertz and Blake have (see

id.), but have not produced any text messages, including those that Gertz admitted exist and

relate to Putnam. The Cadira Defendants also refused to even look into whether any of the Cadira

Defendants’ employees who are likely to have responsive documents also are likely to have

relevant and substantive text messages that are the sole source of responsive information

sufficient to justify collection. This is, from Plaintiffs’ perspective, another example of the

Cadira Defendants failing to undertake reasonable efforts to identify and produce relevant

documents. Plaintiffs request that the Court Order the Cadira Defendants to produce all

substantive text messages relating to Putnam—whether in the possession of Gertz, Blake, or the

Cadira Defendants’ employees—within a reasonable time, and Plaintiffs suggest 10 days.

       C.      LabTrac

       Plaintiffs began requesting that the Cadira Defendants produce records of which

laboratory performed the tests at issue in October 2018. (E.g., Exs. 1-4 (RFPs 17, 25, 27, 33).)

Those requests continued into late April. (See, e.g., Ex. 13 at 3, 5.) The Cadira Defendants first

identified the system that contained that information—known as LabTrac—in a letter dated May


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6, 2019. (Ex. 10 at 2.) In that letter, the Cadira Defendants required that, before Plaintiffs or their

counsel be given access to LabTrac or its contents, they sign an affidavit agreeing not to provide

access to the system to anyone outside of Plaintiffs’ counsel’s law firm. (Id. at 2-3.) The letter

and proposed affidavit were sent three days before Plaintiffs deposed Cadira’s “Director of

LabTrac” and nine days before Plaintiffs deposed Gertz. (See id.) To date, Plaintiffs still do not

have access to LabTrac. As a result, Plaintiffs did not have the benefit of these critical records

for the depositions of Cadira’s Director of LabTrac, Gertz, Blake, and other witnesses.

       Plaintiffs volunteered to treat the information contained in LabTrac as if it had been

designated “Confidential” and “Protected Health Information” under the Protective Order. (Ex.

11 at 1.) Still, the Cadira Defendants refused to provide access to LabTrac until Plaintiffs’

counsel signed the proposed affidavits. (Ex. 12 at 1.) Finally, at the Parties’ meet-and-confer call

on May 29, 2019, the Cadira Defendants agreed that an amended Protective Order could address

their concerns, but discussions about modifications to the Protective Order are ongoing. Given

that the location where the tests were performed is a critical fact in this case, and given that

depositions have been taking place for nearly two months and are continuing, Plaintiffs request

that the Court order the Cadira Defendants to provide the Parties with immediate access to

LabTrac on the condition that all Parties and their counsel treat the information contained therein

as if designated “Confidential” and “Protected Health Information” under the Protective Order. 4

III.   Conduct by the Cadira Defendants and their counsel at depositions

       The Cadira Defendants and their counsel have repeatedly refused to answer relevant

questions by Plaintiffs’ counsel at depositions, made inappropriate speaking objections that serve



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 If the Parties can agree on proposed amendments to the Protective Order such that this issue is
mooted, Plaintiffs will notify the Court.



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to coach witnesses on their answers, and unilaterally terminated the deposition of Gertz before

Plaintiffs had used the seven hours permitted under Rule 30(d)(1).

       A.      Instructions to deponents not to answer questions

       On several occasions, and in several depositions, the Cadira Defendants’ counsel has

instructed his clients and their employees not to answer questions posed to them for reasons

other than privilege. During the deposition of Gertz, his counsel instructed him not to answer

questions posed by Plaintiffs about: (1) the owners of various companies affiliated with the

Cadira Defendants; (2) why Gertz loaned money to someone who he later sued; (3) the financial

institution that maintains the bank accounts into which Gertz received funds from the Cadira

Defendants; and (4) Gertz’s net worth. (Ex. 15 at 16:18-25, 33:11-22, 314:14-19, 315:23-316:5.)

Counsel for the Cadira Defendants made the same instructions during Blake’s deposition,

including as to: (1) the amount that Blake received from a company that held Blake’s ownership

interests in the Cadira Defendants; (2) the identity of Blake’s accountant; and (3) the financial

institutions that maintain the bank accounts into which Blake received funds from the Cadira

Defendants. (Moore Decl. ¶ 22. 5)

       Improper instructions not to answer a question disrupt and unduly prolong depositions.

Counsel may instruct a deponent not to answer only when necessary to: (i) preserve a privilege;

(ii) enforce a court-ordered limitation; or (iii) move to terminate the deposition under Rule

30(d)(3)(A). Fed. R. Civ. P. 30(c)(2); see also Craig v. St. Anthony’s Med. Ctr., 384 F. App’x

531, 533 (8th Cir. 2010) (affirming sanctions against lawyer who improperly instructed his client

not to answer questions during deposition). The Cadira Defendants’ counsel did not cite any of


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 As of this time, Plaintiffs have not received a final transcript of Blake’s deposition. If the Court
wishes to review select portions of the transcript, Plaintiffs will be happy to provide excerpts
once the final transcript is received.



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these reasons when instructing Gertz not to answer, nor did he move to terminate the deposition.

His instructions were based only on a unilateral determination of what constituted proper topics

of examination, even after Plaintiffs’ counsel said that this conduct was inappropriate.

       Because there was no legitimate basis for their refusal to answer these questions (or for

their counsel’s instruction that they not do so), Plaintiffs respectfully request that the Court order

Gertz and Blake to answer each question that they refused to answer on the basis of any reason

other than privilege as if posed via interrogatory within five days, including sworn verification.

       B.      Premature termination of Gertz’s deposition

       In addition to instructing his clients not to answer questions for reasons other than

privilege, counsel for the Cadira Defendants unilaterally terminated Gertz’s deposition shortly

after 4:00 PM, before Plaintiffs used the seven hours permitted under Rule 30(d)(1), because he

had “a plane to catch.” (Ex. 15 at 375:13-22.) The Cadira Defendants’ counsel stated that,

“combined with the breaks you chose to take, to look at your notes and that sort of thing, I think

we’re over seven hours, so I need to go catch a plane.” (Id. at 376:1-7.) The videographer then

stated, on the record, that Plaintiffs had used six hours, 40 minutes. (Id. at 376:12-13.)

       Absent the parties’ agreement or court order, depositions are limited to one day of seven

hours on the record. Fed. R. Civ. P. 30(d)(1); id. advisory committee’s note to 2000 amendment.

Courts should allow additional time if a party or any other person impedes or delays the

examination, including by failing to produce documents. Fed. R. Civ. P. 30(d)(1); see also Star

Envirotech, Inc. v. Redline Detection, LLC, No. SA CV 12-01861-JGB (DFMx), 2015 U.S. Dist.

LEXIS 169042, at *10-11 (C.D. Cal. Dec. 16, 2015) (reopening depositions due to late

production of documents). Given the Cadira Defendants’ failure to produce relevant documents,

refusal to answer questions on a basis other than privilege, and counsel’s unilateral and

premature termination of the Gertz deposition, Plaintiffs request that the Court order that, if


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Plaintiffs determine that they are not able to obtain the information they need through the Rule

30(b)(6) depositions of SeroDynamics and LabMed, then: (1) Plaintiffs be given an additional

four hours—in addition to the remaining 20 minutes—to depose Gertz; and (2) the Cadira

Defendants pay reasonable costs and attorneys’ fees for Plaintiffs’ counsel to travel to the

deposition.

       C.      Improper objections

       Additionally, the Cadira Defendants’ counsel has made repeated speaking objections that

unnecessarily consume deposition time and appear to have the effect of coaching witnesses. For

example, the following exchange took place during the deposition of Gertz:

       Q. Did [redacted] quit, or was she fired from your companies?
       A. She quit.
       Q. Why did she quit?
       A. She had a --
       MR. MINANA: Wait. I’ll object. I think it calls for speculation.
       A. Yeah, actually, I can’t even answer that question.

(Ex. 15 at 310:1-9.) The Cadira Defendants’ counsel made repeated speaking objections during

other depositions as well. For example:

       Q. So [redacted] was involved in billing as it relates to Southwest Labs, CGH, and
       Putnam, correct?
       MR. MINANA: I’ll object to the form of the question. The way you say it, as if
       some misstatement by her. The distinction is between her and [redacted]. I think
       that is argumentative.
       MR. PFEIFFER: That is a speaking objection.

(Ex. 16 at 137:19-138:3.) Plaintiffs can provide an additional dozen examples once deposition

transcripts are finalized (i.e., the types of speaking objections set forth above are not unique).

       Objections must be stated concisely in a non-argumentative and non-suggestive manner.

Fed. R. Civ. P. 30(c)(2); see also Lund v. Matthews, No. 8:13CV144, 2014 U.S. Dist. LEXIS

15863, at *3-4 (D. Neb. Feb. 7, 2014) (sanctioning lawyer who made numerous speaking

objections during his client’s deposition and ordering his client to sit for additional deposition).


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Depositions are otherwise needlessly delayed, inflicting greater expense on all parties. Plaintiffs’

counsel have requested repeatedly that the Cadira Defendants’ counsel state objections as to

form, foundation, or privilege, to no avail. Plaintiffs request that the Court order the parties and

their counsel to: (1) limit objections to form, foundation, or privilege; and (2) to stop making

objections that are suggesting of an answer to deponents, including that questions call for

speculation and admonitions that deponents answer questions “if they know.”

                                         CONCLUSION
       Plaintiffs request that the Court order the Cadira Defendants and their counsel to:

(1) apply the search terms identified in footnote 3, and produce all responsive, non-privileged

documents within 14 days; (2) produce relevant text messages within 10 days; (3) produce the

information necessary to perform a tracing analysis—including statements, wire transfer detail,

and canceled checks for all accounts maintained by the Cadira Defendants and any intermediary

entities—within 10 days; (4) immediately provide the Parties access to LabTrac on the condition

that all Parties treat the information contained therein as “Confidential” and “Protected Health

Information”; (5) answer each question that they refused to answer in their depositions on the

basis of any reason other than privilege, as if posed via interrogatory within five days, including

sworn verification; (6) if Plaintiffs are not able to obtain the information they need through the

Rule 30(b)(6) depositions of SeroDynamics and LabMed, Plaintiffs have an additional four

hours—in addition to the remaining 20 minutes—to depose Gertz; the Cadira Defendants pay

reasonable costs and attorneys’ fees for Plaintiffs’ counsel to travel to the deposition; and

(7) limit deposition objections to form, foundation, or privilege and stop asserting objections that

are suggestive of an answer to pending questions.




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Dated: June 21, 2019                By:        /s/ Michael L. Jente

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                                CERTIFICATE OF SERVICE
       I hereby certify that the foregoing was filed electronically with the United States District

Court for the Western District of Missouri, through the Court’s CM/ECF system, on the 21st day

of June, with notice of case activity sent to counsel of record.

                                                        /s/ Michael L. Jente




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